Case 2:19-cv-10654-LVP-SDD ECF No. 1-1 filed 03/05/19 PagelD.6 Page 1 of 11Page 5 of 32

 

 

 

 

 

 

“. . Original - Court 2nd copy - Plalntif
; Approved, SC AQ dat copy - Defendant 3rd copy + Refan
4 STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT
6TH JUDICIAL CIRCUIT SUMMONS 19-170791-NO
COUNTY PROBATE
Court address Court telephone ne.
1200 WN. Telegraph Rd., Pontiac, MI 4834) 248-858-0351
Plaintitrs ramets), address(es}, and telephone nals). Defendant's name(s). address(es), end telephone nafs}.
SANDRA LANDAUD TARGET CORPORATION
v

 

Plaintiffs attorney, bar ho. addkees, and telephone no. This cas¢ has been|designated as an eFiling case. To review a copy
MATTHEW NDONW] (P82601) of the Notice of Mandatory eFiling visit www-.cakgov.com/efiling.
5345 Griswold St, Suite 2632 Mandatory pus e f
Detroit, MI 48226
313-324-8300

 

 

 

 

 

 

Instructions: Check the items below that apply to you and provide any required information. Submit this form to the court clerk
along with your complaint and, If necessary, a case Inventory addandum (form MG 21). The summons section will be compisted
by the court clerk.

Domestic Relations Case

LJ There are no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or
family members of the person(s) who are the subject of the complaint.

C] There is one or more pending or resolved cases within the jurisdiction of the family division of the circult court involving
the family or family members of the person(s) who are the subject of the complaint. Attached is 4 completed case inventory
{form MC 21) listing those cases.

(7 It is unknown if there are pending or resalved cases within the jurisdiction of the family division of the circuit court inveiving
the family or family members of the person(s) who are the subject of the complaint.

Civil Case

CO This is a business case in which all or part of the action includes a business or commercial dispute under MCL 800.8035.

[J] There fs no othar pending or resolved civi action arising out of the same transaction or occurrence as alleged In the
complaint.

CA elvil action between these parties or other parties arising out of the transaction or occurence alleged In the complaint has

 

 

 

been previously filed In CJ this court, C] Court, where
it was given case number and assigned to Judge aE RCT»

7” ape ;
The action Clremains Clis notonger pending. af

  
    

minong secti court clerk, oo

Sumtnora secon compel by a

NOTICE TO THE DEFENDANT: in the name of the people of the State of Michigan you are fied

4. You are being sued. POUT

2. YOU HAVE 24 DAYS after receiving this summons and a copy of the complaint to file a written answer with the court and
serve a copy on the other party or take other lawful actlon with fhe court (28 days if you were served by mail of you were
served outside this state).

3. if you de not answer or take other action within the time allowed, judgment may be entered against you for the relief
demanded in the complaint.

4. {fyou require special accommodations to use the court because of a disability or if you require a foreign language interpreter
to help you fully participate In court proceedings, please contact the court immediately to make arrangements.

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Bsue dal pirajvion, date” Court Clark
uP RT 12019 31372019 Lisa Brown
“This sumone le Invalid unless served on or betore fis expiration date, This document must be sealed by the seal of the court,
mc ot (16) SUMMONS MCR 1.109{D), MCR 2.102(B}, MCR 2.104, MGR 2.105
2-26-2019 002671670001 6020190226007537 EXHIBIT

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Fed SUMMONS

‘ TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date of filing or the date
of expiration on the order for second summons. You must make and file your return with the court clerk. if you are unable to
complete service you must retum this original and all copies to the court clerk.

 

 

 

 

[CERTIFICATE / AFFIDAVIT OF SERVICE / NONSERVICE |

 

(CD OFFICER CERTIFICATE OR C AFFIDAVIT OF PROCESS SERVER
| certify that | am a sheriff, deputy sheriff, balliff, appointed Being first duly sworn, | state that | am a legally compete
court officer, or attorney for a party (MCR 2.104A][2]), adult who is not a party or an officer of a corporate party,
and that: (notarization not required) and that: totarization required)

 

 

Ct served personally a copy of the summons and complaint.
CU served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaint,
together with

 

List all dacuments served with the summons and comptaint

 

on the defendant(s):

 

 

Defendant's name Complete address(es) of service Bay, dete, time

 

 

 

 

 

 

 

{J Ihave personally attempted to serve the summons and complaint, together with any attachments, on the following defendant(s}
and have been unable to complete service.
Defendant's name Complete addrese{es) cf service Day, date, fire

 

 

 

 

 

 

 

 

| declare under the penatties of perjury that this proof of service has been examined by me and that its contents are true to the
best of my infermation, knowledge, and bellef.

 

 

 

 

 

 

 

 

 

 

 

 

Service fee Mies traveled Fee Signature
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incorrect address fee | Miles traveled Fee TOTAL FEE Name (type or print)
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Tite
Subscribed and swom to before me on — ' County, Michigan.
a
My commission expires; ____..._.____________ Signature: -
Date Denuty court clerk/Notary public

Notary public, State of Michigan, County of

 

 

[ ACKNOWLEDGMENT OF SERVICE |
| acknowledge that ! have received service of the summons and complaint, together with

 

 

 

 

 

Attachmienis
on
Bay, date, ime
: on behalf of
Signature
2-26-2019 600267167G0001 6020190226007537

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eFiling visit www.oakgov.com/efiling.

STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF OAKLAND

SANDRA LANDAU,
20159-170791-NO
Plaintiff, Case No, 2018- -NO
VS. Hon. JUDGE NANCE J. GRANT

TARGET CORPORATION,
Defendant.

MATTHEW NDON WI (P82601)
VEN R. JOHNSON (P39219)
JOBNSON LAW, PLC

Attorneys for Plaintiff

535 Griswold Street, Suite 2632
Detroit, MI 48226

(313) 324-8300 (fax-8301)
mudonwi(@venjohnsonlaw.com

ohn ve nse com

1/2/2019 8:00 AM

f

COMPLAINT AND JURY DEMAND

There is no other civil action between these parties arising out of
the same transaction or occurrence alleged in the complaint
pending in this court, nor has any such action been previously filed
and dismissed or transferred after having been assigned to a judge.

/sf Matthew Ndonwi
Matthew Ndonwi (P82601)

Plaintiff, SANDRA LANDAU, by and through her attomeys, JOHNSON LAW, PLC.,

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for her Complaint against Target Corporation, states as follows:

1. Plaintiff, Sandra Landau (“Sandra”) is a resident of City of Northville, Oakland county,
Michigan.

2. Defendant, Target Corporation (“Target”) is a foreign corporation, which conducts

business at 27100 Wixom Road, Novi, Oakland county, Michigan (“Novi Target”).

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3, On Saturday July 15, 2017, at approximately 10:10 P.M., Sandra and her husband Steve
Landau (“Steve”) were at Novi Target as business invitees.

4. As Sandra and Steve approached the entryway, Steve opened the outside door, which was
apparently manual/semiautomatic, for Sandra to walk in.

5. Immediately and without warning, the door malfunctioned, quickly closing on Sandra
while she was still walking through the door way and slammed Sandra on the right side of her
body.

1/2/2019 8:00 AM

6. As the direct and proximate cause of the above defective condition, Sandra sustained
severe and permanent physical and emotional injuries including but not limited to head, neck,

right shoulder, ribs, etc.

COUNT ] — PREMISES LIABILITY
7. Sandra reasserts and realleges the allegations contained in Paragraphs 1 through 6 as if
fully set forth herein.
&. At all times relevant to this lawsuit, Target owned, possessed, maintained, controlled or
otherwise exercised possession and control over Novi Target, where Sandra’s accident occurred.
9. At all times relevant to this lawsuit, Target owed certain duties to the general public, its

invitees, and in particular to Sandra, to keep and maintain its premises in a reasonably safe

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condition, and to avoid and eliminate the existence of known or reasonably anticipated hazards.
10. Target breached these duties in the following ways, including but not limited to:
a. Negligent failure to safely and timely maintain, handle, fix, repair and/or
replace the door at the entryway,

b. Negligent failure to inspect the defective premises;

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c. Negligent failure to make sure that the doors, at all times, operated
correctly so as not to cause injury to invitees shopping at the premises,

d. Negligent failure to timely respond to the malfunctioning doors;

e. Negligent failure to disable the defective mechanism so it would not snap
and close on unsuspecting invitees;

f. Negligent failure to warn or otherwise canted its invitees as to the
defective condition by failing to place safety cones or signs;

g. Negligent failure to respond to and/or act to eliminate the defective and

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hazardous condition having active and/or constructive knowledge of the
defective and hazardous condition;

h. Negligent failure to supervise the servicing, maintenance and/or upkeep of
the premises to ensure that its condition was safe for use by its invitees
and the public;

j. Negligent failure to regularly inspect the premises/equipment for
dangerous and hazardous conditions, including but not limited to the
malfunctioning doors:

j. Negligent failure to properly train, supervise, manage and/or instruct its
employees, agents and representatives to inspect and correct defective

conditions on the premises,

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k. Negligent failure to create, implement and/or enforce policies and
procedures to ensure the safety, maintenance and timely repair of the

malfunctioning entryway doors;

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1.

Creating a dangerous and hazardous condition on the premises or
contributing to the creation of a dangerous and hazardous condition on the

premises; and

m. Other breaches and acts of negligence learned through the course of

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discovery.

11. The defective condition on Target’s premises was not known to Sandra of Steve, and did
not constitute an open and obvious condition because Sandra or Steve could not see upon casual

inspection that the door would close on Sandra as she walked through the entry to the Target

12. As a direct and proximate result of Target’s breach of the above duties, Sandra suffered

severe, permanent, painful and disabling injuries, including but not limited to:

Injuries to her head, neck, right shoulder, ribs, etc.;

Physical pain and suffering;

Mental anguish;

Fright and shock;

Denial of social pleasure and enjoyments,

Embarrassment, humiliation and/or mortification,
Aggravation of pre-existing ailment and condition;
Past and future medical treatment expenses and/or wage loss;
Disability relating to the above injuries; and

All other damages learned through the course of discovery.

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WHEREFORE, Sandra Landau respectfully requests judgment in her favor and agamst
Target Corporation in an amount in excess of $75,000, exclusive of costs, interest and attorney
fees so wrongfully incurred.
COUNT II - NEGLIGENCE/GROSS NEGLIGENCE
13. Sandra reasserts and realleges the allegations contained in Paragraphs | through 12 of
this Complaint as if fully set forth herein.
14. At all times relevant to this lawsuit, Target owned, possessed, maintained, controlled or

otherwise exercised possession and control over the premises at 27100 Wixom Road, Novi,

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Michigan, where Sandra’s accident occurred.

15. At all times relevant to this lawsuit, Target owed certain duties to the general public, its
invitees, and in particular to Sandra, to keep its premises in a reasonably safe condition and to
avoid and eliminate the existence of known or reasonably anticipated hazards.

16. Target breached these duties in the following ways, including but not limited to:

a. Negligent failure to safely and timely handle, fix, repair and/or replace the
door at the entryway;

b. Negligent failure to inspect the defective premises,

c, Negligent failure to make sure that the automatic doors at all times
operated correctly so as not to cause injury to invitees shopping at the

premises;

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d. Negligent failure to timely respond to the malfunctioning doors;
e. Negligent failure to disable the defective mechanism so it would not slam

on unsuspecting invitees;

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f. Negligent failure to warn or otherwise caution its invitees as to the
defective condition by failing to place safety cones or signs,

g. Negligent failure to respond to and/or act to eliminate the defective and
hazardous condition having active and/or constructive knowledge of the
defective and hazardous condition;

h. Negligent failure to supervise the servicing, maintenance and/or upkeep of
the premises to ensure that its condition was safe for use by its invitees

and the public:

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i. Negligent failure to regularly inspect the premises/equipment for
dangerous and hazardous conditions, including but not limited to the
malfunctioning doors;

j. Negligent failure to properly train, supervise, manage and/or instruct its
employees, agents and representatives to inspect and correct defective
conditions on the premises;

k. Negligent failure to create, implement and/or enforce policies and
procedures to ensure the safety, maintenance and timely repair of the
malfunctioning entryway doors;

1. Creating a dangerous and hazardous condition on the premises or

contributing to the creation of a dangerous and hazardous condition on the

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premises; and
m. Other breaches and acts of negligence learned through the course of

discovery.

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17, The defective condition on Target's premises was not known to Sandra or Steve and did
not constitute an open and obvious condition because Sandra or Steve could not see upon casual
inspection that the door would close on Sandra as she walked through the entryway to the Novi
Target.

18, As adirect and proximate result of Target’s breach of the above duties, Sandra suffered
severe, permanent painful and disabling injuries, including but not limited to:

a. Injuries to her head, neck, right shoulder, ribs, etc.,;

b. Physical pain and suffering;

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c. Mental anguish;

d. Fright and shock;

e. Detial of social pleasure and enjoyments;

f Embarrassment, humiliation and/or mortification;

g. Aggtavation of pre-existing ailment and condition,

h. Past and future medical treatment expenses and/or wage loss;

Disability relating to the above injuries; and

=

j. All other damages learned through the course of discovery.
WHEREFORE, Sandra Landau respectfully requests judgment in her faver and against
Target Corporation in an amount in excess of $75,000, exclusive of costs, interest and attorney

fees so wrongfully incurred.

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Respectfully submitted,
JOHNSON LAW, PLC

By: 4/Maithew Ndonwi
MATTHEW NDONWY (P82601)

VEN R., JOHNSON (P39219)
Attorneys for Plaintiff

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Dated: December 31, 2018

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Case 2:19-cv-10654-LVP-SDD ECF No. 1-1 filed 03/05/19 PagelD.16 Page 11 of Page 15 of 32

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STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF OAKLAND

ANDRA LANDAU,
5 2019-170791-NO
Plaintiff, Case No, 2018- «NO

vs.

TARGET CORPORATION,

Defendant.

MATTHEW NDON WI (P82601)
VEN R. JOHNSON (P39219)
JOHNSON LAW, PLC

Attorneys for Plaintiff

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(313) 324-8300 (fax-8301)
mnidonwi@venjohnsonlaw.com

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DEMAND FO AL
NOW COMES the Plaintiff, SANDRA LANDAU, by and through her attorneys,
JOHNSON LAW, PLC, and hereby demands a trial by jury in the above entitled cause.
Respectfully submitted,

JOHNSON LAW, PLC

By: /s/Matthew Ndonwi
MATTHEW NDONWI (P82601)
VEN R, JOHNSON (P39219)
Attorney for Plaintiff

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Dated: December 31, 2018

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